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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN


 LAURI ANN HOCH,

        Plaintiff,                              Hon. Gordon J. Quist

 v.                                             Case No. 1:16-cv-00405-GJQ-PJG


 SETERUS, INC.,

        Defendant.
 ________________________________/

                                       ORDER


       The Court was informed on July 16, 2019, during the settlement conference of

 the parties' agreement to settle this matter. Accordingly,

       IT IS ORDERED that appropriate stipulated dismissal papers, prepared for

 entry by United States District Judge Gordon J. Quist, shall be filed with the Court

 on or before August 30, 2019.



 Date: July 16, 2019
                                               /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge
